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                   UNITED STATES DISTRICT COURT
                   WESTERN DISTRICT OF LOUISIANA
                        LAFAYETTE DIVISION


ANUSHAN NAVARADNAM                               CASE NO. 6:20-CV-1453 SEC P

VERSUS                                     JUDGE ROBERT R. SUMMERHAYS

DEPT. OF HOMELAND SECURITY,                      MAGISTRATE JUDGE HANNA
ET AL



                      REPORT AND RECOMMENDATION
      Before the Court is Respondents’ Motion To Dismiss the Petition for Writ of

Habeas Corpus, pursuant to Federal Rule 12(b)(1), as moot. [Rec. Doc. 15] For the

reasons set forth below, the undersigned recommends that Respondents’ Motion To

Dismiss be granted.

      Before the Court is a petition for writ of habeas corpus (28 U.S.C. § 2241)

filed by pro se Petitioner Anushan Navaradnam. Petitioner was an immigration

detainee in the custody of the Department of Homeland Security / U.S. Immigration

and Customs Enforcement (“DHS/ICE”). At the time of filing on November 9,

2020, he was detained at the Pine Prairie Correctional Center, in Pine Prairie,

Louisiana. Petitioner challenged his continued detention pending removal.

      On June 30, 2021, Petitioner was released from ICE custody pursuant to an

order of supervision. [Doc. 15-1, p. 1]
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       The release from custody renders Navaradnam’s Petition for Writ of Habeas

Corpus moot, as he has achieved the relief sought in his habeas petition. See Goldin

v. Bartholow, 166 F.3d 710, 717 (5th Cir. 1999) (“[A] moot case presents no Article

III case or controversy, and a court has no constitutional jurisdiction to resolve the

issues it presents.”).

       For the foregoing reasons,

       IT IS RECOMMENDED that the Motion To Dismiss Pursuant To Federal

Rule 12(b)(1) filed by the Government [Rec. Doc. 15], be GRANTED, the Petition

for Writ of Habeas Corpus be DISMISSED without prejudice and that this

proceeding be terminated.

       Under the provisions of 28 U.S.C. §636(b)(1)(c) and Fed.R.Civ.P. 72(b), the

parties have fourteen (14) calendar days from service of this Report and

Recommendation to file specific, written objections with the clerk of court. No other

briefs or responses (such as supplemental objections, reply briefs etc.) may be filed.

Providing a courtesy copy of the objection to the magistrate judge is neither required

nor encouraged. Timely objections will be considered by the district judge before he

makes his final ruling.

       FAILURE TO FILE WRITTEN OBJECTIONS TO THE PROPOSED

FINDINGS, CONCLUSIONS, AND RECOMMENDATIONS CONTAINED

IN THIS REPORT WITHIN FOURTEEN (14) CALENDAR DAYS FROM

                                          2
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THE DATE OF ITS SERVICE SHALL BAR AN AGGRIEVED PARTY,

EXCEPT UPON GROUNDS OF PLAIN ERROR, FROM ATTACKING ON

APPEAL THE FACTUAL FINDINGS AND LEGAL CONCLUSIONS

ACCEPTED BY THE DISTRICT JUDGE TO WHICH THE PARTY DID

NOT OBJECT.

      THUS DONE in Chambers on this 3rd day of August 2021.




                                                 Patrick J. Hanna
                                          United States Magistrate Judge




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